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1      TRACY L. WILKISON
       Acting United States Attorney
2      SCOTT M. GARRINGER
       Assistant United States Attorney
3      Chief, Criminal Division
       JONATHAN GALATZAN
4      Assistant United States Attorney
       Chief, Asset Forfeiture Section
5      VICTOR A. RODGERS (Cal. Bar No. 101281)
       MAXWELL COLL (Cal. Bar No. 312651)
6      Assistant United States Attorney
       Asset Forfeiture/General Crimes Sections
7           Federal Courthouse, 14th Floor
            312 North Spring Street
8           Los Angeles, California 90012
            Telephone: (213) 894-2569/1785
9           Facsimile: (213) 894-0142/0141
            E-mail: Victor.Rodgers@usdoj.gov
10                  Maxwell.Coll@usdoj.gov
11     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
12
                                UNITED STATES DISTRICT COURT
13
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                      WESTERN DIVISION
15
       UNITED STATES OF AMERICA,               Case No. 2:21-cv-06966-RGK(MARx)
16
                  Plaintiff,                   FIRST AMENDED COMPLAINT FOR
17                                             FORFEITURE
                       v.
18                                             18 U.S.C. § 981(a)(1)(A) & (C) and
       $399,000.00 IN U.S. CURRENCY AND        21 U.S.C. § 881(a)(6)
19     MISCELLANEOUS ITEMS OF JEWELRY,
                                               [FBI]
20                Defendants.

21

22          Plaintiff United States of America brings this claim against
23     defendants $399,000.00 in U.S. Currency and Miscellaneous Items of
24     Jewelry (collectively, “the defendants”), and alleges as follows:
25                                 JURISDICTION AND VENUE
26          1.    The government brings this in rem forfeiture action
27     pursuant to 18 U.S.C. § 981(a)(1)(A) & (C) and 21 U.S.C. § 881(a)(6).
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1           2.    This Court has jurisdiction over the matter under 28 U.S.C.

2      §§ 1345 and 1355.

3           3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

4                                  PERSONS AND ENTITIES

5           4.    The plaintiff in this action is the United States of

6      America.

7           5.    The defendants in this action are $399,000.00 in U.S.

8      Currency (the “defendant currency”) seized by law enforcement

9      officers on or about March 22, 2021, at U.S. Private Vaults at 9182
10     Olympic Boulevard in Beverly Hills, California and Miscellaneous
11     Items Of Jewelry (the “defendant jewelry”) seized on or about July
12     15, 2021 at the Long Beach, California residence of Derrick Polk,
13     during the execution of a search warrant.        The defendant jewelry
14     consists of one Breitling Super Ocean Watch serial number 7089691,
15     one Breitling Super Ocean Watch serial number 5077160, one Rolex
16     Cosmograph Daytona 40 Watch, one Rolex Yacht-Master Watch serial
17     number 646W59W5, three necklaces, three bracelets, one Rolex Datejust
18     Watch serial number 875D7669, one Breitling for Bentley Watch serial

19     number 209867 and one Rolex President Watch serial number D53P7350.

20          6.    The defendant currency is currently in the custody of the

21     United States Marshals Service in this District while the defendant

22     jewelry is currently in the custody of the United States Postal

23     Inspection Service, where they will remain subject to this Court’s

24     jurisdiction during the pendency of this action.

25          7.    The interests of Derrick Polk may be adversely affected by

26     these proceedings.

27     / / /

28     / / /

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1                                  BASIS FOR FORFEITURE

2      Background Regarding U.S. Private Faults

3           8.      U.S. Private Vaults (“USPV”) is a company that was in the

4      business of renting safe deposit boxes to customers.          By providing

5      and promoting total anonymity, USPV catered to and attracted

6      criminals who sought to keep their identities and the source of their

7      cash beyond the reach of banks, regulators, the IRS, and law

8      enforcement.

9           9.      The company’s primary pitch to customers was anonymity, as
10     reflected in its website that provided “Complete Privacy; Biometric
11     Identification; No ID Required.”       USPV also boasted in its website
12     “Our business is one of the very few where we don’t even want to know
13     your name.     For your privacy and the security of your assets in our
14     vault, the less we know the better.”       This advertisement appealed to
15     persons engaged in activities which they wished to hide from legal
16     authorities and law-abiding financial institutions.
17          10.     USPV also posted on its website “Four Reasons to Store Your
18     Gold At USPV,” information designed to market the company’s services,

19     which led to many involved in criminal activities to rent boxes from

20     USPV.     The posting asserted:

21          Banks require clients to provide their social security

22          number and a photo identification as a condition for

23          renting a safe deposit box.       Your information is then filed

24          in the bank's central data system.        This information can be

25          easily accessed by government agencies (such as the IRS) or

26          attorneys armed with court orders. If no one is aware you

27          have a safe deposit box, the contents (your gold) are much

28          safer.

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1      By advocating a service which circumvented the IRS and persons “armed

2      with court orders,” customers engaged in illegal activity were

3      attracted to and ultimately stored and secreted their criminal

4      proceeds (which the government has a legitimate interest in) at USPV,

5      instead of at banks or law-abiding financial institutions where their

6      illegal activities would more likely be uncovered.

7           11.   In the same post, “Four Reasons to Store Your Gold At

8      USPV”, USPV stated:

9           As government chartered institutions, banks are now
10          required to file “suspicious activity reports.” . . . U.S.
11          Private Vaults is not subject to federal banking laws and
12          would only cooperate with the government under court order.
13     By marketing services in this fashion, some persons who ultimately
14     became USPV customers, were attracted by the advertisements because
15     USPV’s safe deposit box storage facilities offered them a much safer
16     place to store their illegal criminal proceeds, unlike law-abiding
17     banks, so as to eliminate their fear of apprehension by law
18     enforcement and in promotion of their illegal activities.

19          12.   Further, and in order to shield customers from having law

20     enforcement uncover their illegal activity, USPV encouraged its

21     customers pay their box rental fees in cash.         In addition, USPV

22     charged customers significantly higher prices than those charged by

23     major banks, because USPV offered something which legitimate banks do

24     not: anonymity, a place to store illegally obtained cash, tips and

25     assistance in avoiding law enforcement and a willingness to look the

26     other way with regard to all types of criminal conduct.          And one of

27     USPV’s owners has gone so far as to brag about bringing to USPV

28     individuals selling marijuana and other drugs illegally, based on the

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1      owner’s connections, by marketing USPV as a safe place for those

2      criminal actors and potential USPV customers to store their ill-

3      gotten gains.

4           13.    Not surprisingly, because USPV’s business model is designed

5      to appeal and cater to criminals, USPV has repeatedly been used by

6      criminals to store criminal proceeds.       Over the years, the contents

7      of specific boxes at USPV have been forfeited because they are the

8      proceeds of criminal activity.      For example, on July 1, 2019,

9      officers seized $215,653 from Michael Beaver, as he was leaving USPV,
10     and then seized an additional $1,448,700 from his USPV boxes.
11     Records from the Employment Development Department (the “EDD”), which
12     is the California agency to whom employers must report wages earned
13     by their employees, showed Beaver had no legitimate employment
14     income.    In addition, Beaver’s phones revealed evidence of drug
15     trafficking activity, and the in excess of $1.6 million funds were
16     forfeited as proceeds of unlawful activity.
17          14.    On April 21, 2019, a victim was kidnapped in San Diego and
18     brutally tortured in a warehouse, where the victim was hit with

19     sticks and baseball bats; stripped naked; hit with a hammer on the

20     victim’s toes; and set on fire.       Allan Newman was arrested and

21     charged with kidnapping for ransom, attempted murder, torture and

22     aggregated mayhem relative to the beating.        The victim had been

23     employed by a group of people who were engaged in distributing

24     counterfeit marijuana vaping cartridges, and the group believed the

25     victim had stolen a suitcase full of cash, which a vape cartridge

26     customer had left at the warehouse.        A portion of the funds had been

27     placed by the victim’s ex-wife in a safe deposit box at USPV, which

28     the ex-wife retrieved and used to pay the victim’s ransom.

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1           15.   On March 6, 2018, officers seized $101,080 and 26 gold bars

2      from Vincent Ramos’ USPV box.      Ramos was the CEO of a company that

3      facilitated the importation, exportation and distribution,

4      internationally, of wholesale quantities of cocaine, heroin and

5      methamphetamine.    The currency and gold bars were forfeited, and

6      Ramos was indicted and pleaded guilty to Racketeering and Drug

7      Trafficking, in the Southern District of California.          See United

8      States v. Ramos, Case No. 18cr1404-WQH.

9           16.   In September 2016, officers seized $592,450 and $435,190,
10     respectively, from two USPV boxes of Mikhail Malykhin, an individual
11     who was the leader of an identity theft/computer intrusion fraud
12     ring.   He and others were involved in a complex scheme involving
13     altering hacked debit cards from a health insurance provider and
14     altering the codes to cash out the debit cards.         Malykhin was
15     indicted and pleaded guilty to committing access device fraud, and
16     the over $1,000,000 in funds seized from Malykhin’s boxes were
17     forfeited as proceeds of the fraud and were used to pay restitution
18     to victims of Malykhin’s fraud.        See United States v. Malykhin,

19     Central District of California Case No. 16cr0688-DMG.

20          17.   In November 2015, officers seized $1,543,400 from the USPV

21     box of Gerald Lebowitz, which he stated had been brought into the

22     United States illegally to avoid taxes.        However, further

23     investigation revealed that Lebowitz was part of a conspiracy to

24     distribute methaqualone, a controlled substance, and officers seized

25     over 45 kilograms of methaqualone powder and 12 canisters of the

26     chemical o-Taluidine, both chemical precursors, during the course of

27     the investigation.      The funds were forfeited as criminal proceeds.

28     / / /

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1      See United States of America v. Lebowitz, Central District of

2      California Case No. 17cr-0053-CAS.

3           18.   On October 28, 2015, officers seized $500,000, 22 gold bars

4      and 15 gold coins from the USPV box of Cyrus Irani, who was the

5      master bookmaker and head of an illegal gambling organization that

6      operated both internet and traditional bookmaking operations, and

7      engaged in money laundering.      He pleaded guilty to Enterprise

8      Corruption, and 14 others in his organization were convicted of

9      various gambling, money laundering and enterprise corruption charges.
10     The assets found in Irani’s box were forfeited as criminal proceeds.
11     The Property At Issue In This Case

12          19.   The funds seized from the box at issue in this case is an

13     example of persons storing funds from their criminal activity at

14     USPV, as a result of USPV’s advertisements, marketing efforts and

15     other transactions and activities, designed to induce persons to rent

16     boxes at USPV to hide their illegal monies.        The funds seized, as

17     well as the defendant jewelry, represent the proceeds of criminal

18     activity and were involved in money laundering activity, which

19     therefore renders them subject to forfeiture.

20          20.   Polk is a drug supplier who provides drugs to others and

21     receives currency in exchange for the drugs he supplies.          In

22     addition, he engages in credit card fraud.        Officers found

23     $399,000.00 in U.S. currency (i.e., the defendant currency) inside

24     Polk’s box no. 5911 at USPV.      Polk has a significant criminal

25     history, which includes California and Illinois state felony

26     convictions for aggravated criminal sexual assault, robbery, felony

27     drug convictions and convictions for domestic violence.          In addition,

28     Polk has a 2010 New Jersey federal district court conviction for bank

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1      fraud and felon in possession of a firearm for which he was sentenced

2      to 70 months imprisonment and five years of supervised release.           He

3      also has a 2019 State of California conviction for perjury for which

4      Polk is on probation.     With respect to the 2019 perjury conviction,

5      Polk is on probation.     As terms of his probation, Polk is to submit

6      his person and property to search and seizure at any time of the day

7      or night, by any probation officer or other peace officer, with or

8      without a warrant, probable cause or reasonable suspicion.

9           21.   Furthermore, Polk has recently been indicted for drug
10     trafficking.    Polk was one of several defendants named in an
11     indictment filed on August 10, 2021 in the Western District of
12     Pennsylvania charging Polk and his co-conspirators with engaging in a
13     federal drug trafficking conspiracy.       See United States v. Davis, et
14     al., Case No. 21cr16, Western District of Pennsylvania.

15          22.   On or about July 15, 2021, officers executed a federal

16     search warrant at Polk’s Long Beach, California residence, which is a

17     luxury apartment, and seized the defendant jewelry and one Taurus

18     International G3C handgun, which Polk later admitted (despite being a

19     felon, making it illegal for Polk to possess the firearm) was his.

20     The defendant jewelry has been appraised, collectively, at

21     $184,610.00.

22          23.   In addition, Polk does not have anywhere near sufficient

23     legal sources of income to justify his acquisition and possession of

24     the $399,000.00 defendant currency and the defendant jewelry, which

25     has been appraised at $184,610.00, meaning that the government has

26     seized assets valued at $583,610.00 from Polk.         According to Polk’s

27     probation officer, Polk is a transient living in the Los Angeles Skid

28     Row area, does not have a home address registered with the probation

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1      department and is unemployed.      Likewise, information from the

2      California Employment Development Department reflects no wages having

3      been paid to Polk.     In fact, however, Polk resides in the luxury

4      apartment in Long Beach, California where officers found and seized

5      the defendant jewelry, and drives a luxury vehicle.          In addition,

6      Polk purchased merchandise from Ben Bridge Jewelers in November 2020

7      for $29,893, paying $22,393 of the purchase price in cash.

8           24.    There are other indicia of narcotic trafficking linking the

9      defendant currency to drug trafficking, in addition to Polk’s
10     extensive criminal history and lack of legitimate income.           Those
11     factors include that the funds were bundled, rubber-banded, and in
12     denominations consistent with narcotic trafficking.          In addition, a
13     trained, state-certified narcotic detection canine gave a positive
14     alert to the defendant currency, which signifies that the funds had
15     recently been in close proximity with narcotics.         As of the positive
16     alert, the canine had received hundreds of hours of training
17     (including weekly training after the canine’s initial certification)
18     in the detection of cocaine, methamphetamine, marijuana and heroin,

19     and the canine alerts to the scent of narcotics for which the canine

20     is trained.    The canine’s training has included routinely checking

21     both circulated and uncirculated United States currency, in order to

22     ensure that the canine does not alert to the actual odor of currency

23     itself but instead to the odor of controlled substances on the

24     currency.   Since the canine’s initial certification, the canine has

25     been responsible for the location and seizure of controlled

26     substances and United States currency.

27          25.    As mentioned above, on July 15, 2021, officers executed a

28     federal search warrant at Polk’s residence and seized the defendant

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1    jewelry.   During the search, officers also found evidence of Polk

2    engaging in a large credit card fraud scheme, including multiple

3    identity profiles, a fake California driver’s license bearing Polk’s

4    picture but a different name and copies of Social Security cards.

5    Polk admitted that the fake license was has, and told officers that

6    he intended to use it to open a storage unit under the different name

7    on the license.   Polk also has a history of credit card fraud

8    schemes, including a scheme involving Bank of America where Polk and

9    his co-conspirators added themselves to victims’ credit card accounts
10   as authorized users, obtained cash advances on those credit cards,
11   and used the cash to purchase assets.
12                            FIRST CLAIM FOR RELIEF

13        26.   Plaintiff incorporates the allegations of paragraphs 1-25

14   above as though fully set forth herein.

15        27.   Based on the above, plaintiff alleges that the defendants

16   represent or are traceable to proceeds of illegal narcotic

17   trafficking, were intended to be used in one or more exchanges for a

18   controlled substance or listed chemical, or were used or intended to

19   be used to facilitate a controlled substance or listed chemical

20   violation, in violation of 21 U.S.C. § 841 et seq.        The defendants

21   are therefore subject to forfeiture pursuant to 21 U.S.C.

22   § 881(a)(6).

23                            SECOND CLAIM FOR RELIEF

24        28.   Plaintiff incorporates the allegations of paragraphs 1-25

25   above as though fully set forth herein.

26        29.   Based on the above, plaintiff alleges that the defendants

27   constitute or are derived from proceeds traceable to a controlled

28   substance violation, a specified unlawful activity as defined in 18

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1    U.S.C. §§ 1956(c)(7)(A) and 1961(1)(D).      The defendants are therefore

2    subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

3                             THIRD CLAIM FOR RELIEF

4         30.   Plaintiff incorporates the allegations of paragraphs 1-25

5    above as though fully set forth herein.

6         31.   Based on the above, plaintiff alleges that the defendants

7    constitute or are derived from proceeds traceable to violations of 18

8    U.S.C. §§ 1028 (identity theft), 1029 (access device fraud) and/or

9    1341 (wire fraud), each of which is a specified unlawful activity as
10   defined in 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(D).        The defendants
11   are therefore subject to forfeiture pursuant to 18 U.S.C.
12   § 981(a)(1)(C).
13                            FOURTH CLAIM FOR RELIEF

14        32.   Plaintiff incorporates the allegations of paragraphs 1-25

15   above as though fully set forth herein.

16        33.   Based on the above, plaintiff alleges that the defendants

17   constitute property involved in multiple transactions or attempted

18   transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i) or

19   (a)(1)(B)(i), or property traceable to such property, with the

20   specified unlawful activity being a controlled substance or listed

21   chemical violation, and violations of 18 U.S.C. §§ 1028 (identity

22   theft), 1029 (access device fraud) and/or 1341 (wire fraud).         The

23   defendants are therefore subject to forfeiture pursuant to 18 U.S.C.

24   § 981(a)(1)(A).

25                            FIFTH CLAIM FOR RELIEF

26        34.   Plaintiff incorporates the allegations of paragraphs 1-25

27   above as though fully set forth herein.

28   / / /

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1         35.   Based on the above, plaintiff alleges that the defendants

2    constitute property involved in multiple transactions or attempted

3    transactions in violation of 18 U.S.C. § 1957(a), or property

4    traceable to such property, with the specified unlawful activity

5    being a controlled substance or listed chemical violation, and

6    violations of 18 U.S.C. §§ 1028 (identity theft), 1029 (access device

7    fraud) and/or 1341 (wire fraud).     The defendants are therefore

8    subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

9         WHEREFORE, plaintiff United States of America prays:
10        (a)   that due process issue to enforce the forfeiture of the
11   defendants;
12        (b)   that due notice be given to all interested parties to
13   appear and show cause why forfeiture should not be decreed;
14        (c)   that this Court decree forfeiture of the defendants to the
15   United States of America for disposition according to law; and
16        (d)   for such other and further relief as this Court may deem
17   just and proper, together with the costs and disbursements of this
18   action.

19   Dated: October 12, 2021          TRACY L. WILKISON
                                      Acting United States Attorney
20                                    SCOTT M. GARRANGER
                                      Assistant United states Attorney
21                                    Chief, Criminal Division

22
                                      _______/s/___________________
23                                    VICTOR A. RODGERS
                                      MAXWELL COLL
24                                    Assistant United States Attorneys
                                      Asset Forfeiture/General Crimes
25                                    Sections

26                                    Attorneys for Plaintiff
                                      UNITED STATES OF AMERICA
27

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1                                   VERIFICATION

2         I, Lynne Zelhart, hereby declare that:

3         1.     I am a Special Agent with the Federal Bureau of

4    Investigation.

5         2.     I have read the above First Amended Complaint for

6    Forfeiture and know the contents thereof.

7         3.     The information contained in the First Amended Complaint is

8    either known to me personally, was furnished to me by official

9    government sources, or was obtained pursuant to subpoena.         I am
10   informed and believe that the allegations set out in the Complaint
11   are true.
12        I declare under penalty of perjury under the laws of the United
13   States of America that the foregoing is true and correct.
14        Executed on October 8, 2021 at Los Angeles, California.
15

16                                         /s/ Lynne Zelhart
                                               Lynne Zelhart
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